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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

 BEVERLY GROSS AND KRISTA BIEHL,
 individually and on behalf of all others             Case No. 3:19-cv-01520-KAD
 similarly situated,
                                                      August 12, 2020
                    Plaintiffs,

        v.                                            STIPULATION TO DISMISS

 BLUECHIP FINANCIAL d/b/a
 SPOTLOAN, et al.,

                    Defendants.


       Plaintiffs Beverly Gross and Krista Biehl (“Plaintiffs”), together with Defendant BlueChip

Financial d/b/a Spotloan (“BlueChip”) (collectively, the “Parties”), by and through their counsel,

hereby stipulate to dismiss this case with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). The

Parties shall bear their own respective fees and costs.

       RESPECTFULLY SUBMITTED AND DATED this 12th day of August, 2020.

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